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 9                                UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11
     AMOS GBEINTOR, WILTON                             Case No. 4:21-cv-09470-HSG
12   ALDERMAN, and DRU DOMINICI, on
     behalf of themselves and all others similarly     DEFENDANTS’ NOTICE OF MOTION
13   situated,                                         AND MOTION TO (1) STAY ACTION
                                                       PENDING RELATED NINTH CIRCUIT
14                  Plaintiff,                         APPEAL; AND (2) STAY DISCOVERY
                                                       PENDING ANTI-SLAPP MOTION TO
15             v.                                      STRIKE; MEMORANDUM OF POINTS
                                                       AND AUTHORITES IN SUPPORT
16   DEMANDBASE, INC. and INSIDEVIEW
     TECHNOLOGIES, INC.,                                Date:         November 10, 2022
17                                                      Time:         2:00 p.m.
                    Defendants.                         Courtroom:    2—4th Floor
18                                                      Judge:        Hon. Haywood S. Gilliam, Jr.
19                                                     Date Filed: December 8, 2021
20                                                     Trial Date: N/A.

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 1                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO STAY

 2   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 3             PLEASE TAKE NOTICE THAT on November 10, 2022 at 2:00 p.m., or as soon

 4   thereafter as counsel may be heard, before the Honorable Haywood S. Gilliam, Jr., in Courtroom

 5   2, 4th Floor of the Ronald V. Dellums Federal Building & United States Courthouse, 1301 Clay

 6   Street, Oakland, California, 94612, Defendants Demandbase, Inc. and InsideView Technologies,

 7   Inc. (jointly, “Defendants”) will and hereby do move to stay this action pending resolution of a

 8   Ninth Circuit appeal that bears directly on the issues raised in Defendants’ concurrently-filed

 9   motion to dismiss or, in the alternative, to strike pursuant to California’s anti-SLAPP statute. In

10   the alternative, Defendants move to stay discovery pending resolution of their anti-SLAPP motion

11   pursuant to the mandatory discovery stay provision in California’s anti-SLAPP statute.

12             This motion is based on this notice of motion and motion, the following memorandum of

13   points and authorities, the Declaration of Adam Lauridsen and exhibits attached thereto, all

14   pleadings and papers on file or to be filed in the above-entitled action, the arguments of counsel,

15   and any other matters that may properly come before the Court for its consideration.

16

17   Dated: May 13, 2022                                     KEKER, VAN NEST & PETERS LLP
18

19                                                    By:    /s/ R. Adam Lauridsen
                                                             R. ADAM LAURIDSEN
20                                                           JULIA L. ALLEN
                                                             CODY GRAY
21
                                                             Attorneys for Defendants
22                                                           DEMANDBASE, INC. and
                                                             INSIDEVIEW TECHNOLOGIES, INC.
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 1   I.        INTRODUCTION

 2             Defendants Demandbase, Inc. and InsideView Technologies, Inc. (jointly, “Defendants”)

 3   move to stay this action pending resolution of a Ninth Circuit appeal that directly addresses the

 4   issues raised in their concurrently-filed motion to dismiss or, in the alternative, motion to strike.

 5   The Ninth Circuit appeal—from an order denying a motion to dismiss and anti-SLAPP motion to

 6   strike in Martinez v. ZoomInfo Technologies, Inc., Case No. C21-5725 (W.D. Wash)—concerns

 7   the Article III standing, First Amendment, and anti-SLAPP issues that are now before the Court,

 8   in a similar factual context. Indeed, both actions are brought by the same plaintiffs’ counsel and,

 9   in Martinez, they have already stipulated to a stay pending resolution of that appeal. The Court

10   should not decide these issues now and then later discover the Ninth Circuit requires a different

11   approach. Sound case management practice thus counsels in favor of staying this case. In fact,

12   Judge Beeler previously entered an analogous stay in a highly similar case. See Zhang v.

13   Ancestry.com Operations Inc., Case No. 21-cv-07652-LB, 2022 WL 718486 (Mar. 10, 2022). In

14   any event, because Defendants have moved to strike this action under California’s anti-SLAPP

15   statute, they are entitled to an automatic stay of discovery pending resolution of that motion.

16   II.       BACKGROUND

17             A.     Defendants publish an online database of information about companies and
                      organizations, and their employees, to facilitate business-to-business sales.
18

19             Business-to-business sales often involve months-long purchasing decisions that are made

20   by large groups of people. With these types of sales, it can be difficult to find the right contact at

21   each prospective customer; to understand when a company is “in-market” to make a purchase; or

22   to obtain useful intelligence about the prospective customer to see if they are a fit for a product.

23             Demandbase is a software company that wants to transform the way that business-to-

24   business sales and marketing teams “go to market”—i.e., spot and engage prospective business

25   customers to make successful sales pitches to them. To do so, Demandbase offers a “smart” go-

26   to-market software suite that enables business-to-business sales and marketing teams to obtain

27   useful intelligence about target companies and put that intelligence into action at the right time.

28   InsideView, which was acquired by Demandbase in May 2021, is a market intelligence platform

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 1   that contains information on millions of companies and their employees. Compl. ¶¶ 1–8, 29–30,

 2   40. Its database includes company financials, employee counts, market segments, and industries,

 3   as well as biographical data (name, city of residence, educational history) and professional-

 4   contact information (job title, work phone number, work email) for a company’s employees. Id. ¶

 5   4. All this information is packaged as a company profile entry in the InsideView database.

 6             B.     Plaintiffs sued to suppress publication in Defendants’ online database of
                      publicly available biographical and professional contact information.
 7

 8             Notwithstanding the fact that Plaintiffs publicly posted their biographical and professional

 9   contact information online, Plaintiffs say that InsideView’s creation of online profile pages that

10   list their “names, contact information, job titles, places of work, education histories, [and] cities

11   of residence” has invaded their privacy, stolen their “valuable intellectual property,” and caused

12   them to suffer “emotional disturbance.” Compl. ¶¶ 1, 19, 34, 52, 70; see also RJN, Exs. A–C.

13   Specifically, Plaintiffs complain that members of the general public may create an account on

14   InsideView’s website and search for individuals, including them, by name. Id. ¶ 33. Then, by

15   clicking the “pop-up beneath the search bar,” these users can access Plaintiffs’ publicly-available

16   profiles. Id. ¶¶ 36, 54, 72. Plaintiffs allege that the basic biographical and professional contact

17   information in these profiles misappropriates their publicity rights. Id. ¶¶ 45, 63, 81.

18             On the basis of these allegations, Plaintiffs assert claims for violation of (1) California’s

19   right-of-publicity statute (Cal. Civ. Code § 3344); (2) misappropriation of a name or likeness

20   under California common law; (3) the “unlawful” and “unfair” prongs of California’s UCL (Cal.

21   Bus. & Prof. Code §§ 17200, et seq.); (4) Ohio’s right-of-publicity statute (Ohio Rev. Code §

22   2741) (on behalf of Plaintiff Dominici only); and (5) appropriation of a name or likeness under

23   Ohio common law (also on behalf of Plaintiff Dominici only). Id. ¶¶ 95–123. For their claims

24   under California law, Plaintiffs all seek to certify a nationwide class of persons whose names and

25   personal information were used by InsideView to create profiles, while Plaintiff Dominici alone

26   seeks to certify an Ohio-only subclass for his Ohio law right-of-publicity claims. Id. ¶¶ 85–94.

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 1             C.     Defendants have moved to dismiss or strike Plaintiffs’ complaint, in part
                      because it alleges no plausible injury and seeks to suppress protected speech.
 2

 3             Defendants have concurrently moved to dismiss and, in the alternative, to strike Plaintiffs’

 4   complaint under California’s anti-SLAPP statute. Those motions contend that: (1) Plaintiffs lack

 5   Article III standing to pursue their claims (and have failed to state their claims) because they do

 6   not allege a cognizable economic or emotional injury resulting from Defendants’ publication of

 7   their already-public biographical and professional contact information; (2) Plaintiffs fail to state

 8   actionable right-of-publicity claims because Defendants do not make cognizable commercial use

 9   of their contact information; (3) the First Amendment bars Plaintiffs’ claims because they seek to

10   impose a content-based restriction on Defendants’ speech; (4) Defendants’ speech is exempted

11   from Plaintiffs’ right-of-publicity claims because it concerns public affairs and matters of public

12   and historical interest; and (5) California’s anti-SLAPP statute requires the Court to strike

13   Plaintiffs’ complaint because it seeks to suppress Defendants’ protected speech about matters of

14   public, commercial interest, and Plaintiffs are unlikely to prevail on their claims. Defendants’

15   motion to dismiss and to strike is currently set for hearing on November 10, 2022.

16             D.     Plaintiffs’ counsel has brought a similar action that presents Article III
                      standing and First Amendment issues and is now before the Ninth Circuit.
17

18             This is not the only right-of-publicity action that Plaintiffs’ counsel has brought against

19   companies in recent months. On September 30, 2021, plaintiff Kim Martinez filed a lawsuit in

20   the Western District of Washington against defendant ZoomInfo Technologies, Inc., which is one

21   of Defendants’ competitors in the business-to-business sales intelligence space. See Defs.’

22   Request for Judicial Notice (“RJN”), Ex. D (“Martinez Compl.”). Although ZoomInfo’s product

23   differs from Defendants’ database in several respects, the Martinez action still alleges at its core

24   that ZoomInfo provides online profiles of companies and their employees that include their

25   biographical and professional contact information. Id. ¶¶ 1–12. And just as this lawsuit does,

26   Martinez asserts right-of-publicity claims under California law on behalf of a putative class of

27   California residents on the grounds that ZoomInfo has appropriated their names and likenesses

28   without consent for commercial use by compiling and publicly offering this commercial database.

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 1   Compare id. ¶¶ 13–19 with Dkt. No. 30 (“Compl.”) ¶¶ 12–20.

 2             On December 8, 2021, ZoomInfo moved to dismiss and, in the alternative, to strike the

 3   Martinez complaint pursuant to California’s anti-SLAPP statute. RJN, Ex. E. ZoomInfo argued

 4   that the plaintiff had failed to allege a cognizable and plausible injury and that the “public affairs”

 5   exemption in California’s right-of-publicity statute protected Defendants’ speech. Id. at 4–16.

 6   On April 11, 2022, the district court denied the motion to dismiss and the motion to strike.

 7             On April 14, 2022, ZoomInfo filed a notice of appeal. RJN, Ex. F. That appeal seeks

 8   review of the district court’s order denying the anti-SLAPP motion, which is a collateral order

 9   subject to interlocutory appeal in the Ninth Circuit. Id.; see also Planned Parenthood Fed’n of

10   Am., Inc. v. Ctr. For Med. Progress, 890 F.3d 828, 832 (9th Cir. 2018). Because an anti-SLAPP

11   motion brought under California law considers the probability that a plaintiff’s claims will prevail

12   as part of its analysis, the issues that were presented by ZoomInfo’s motion to dismiss will likely

13   be reviewed in full through the appeal. See Sarver v. Chartier, 813 F.3d 891, 896 (9th Cir. 2016).

14             On May 5, 2022, the parties in Martinez stipulated to stay the case, including discovery,

15   pending resolution of that appeal, which the court entered on May 10, 2022. RJN, Ex. G.

16   III.      ARGUMENT

17             A.     This Court should stay this action pending resolution of the Martinez appeal
                      so that all involved may benefit from the Ninth Circuit’s direct guidance.
18

19             District courts possess the inherent power to stay proceedings. Lockyer v. Mirant Corp.,

20   398 F.3d 1098, 1109 (9th Cir. 2005) (citing Landis v. N.A. Co., 299 U.S. 248, 254–55 (1936)).

21   This stay authority “is incidental to the power inherent in every court to control the disposition of

22   the cases on its docket with economy of time and effort for itself, for counsel, and for litigants.”

23   Phan v. Transamerica Premier Life Ins. Co., 2020 WL 5576358, at *2 (N.D. Cal. 2020). District

24   courts commonly exercise this authority to stay an action “pending resolution of independent

25   proceedings which bear upon the case.” Id. The other proceedings do not need to be “necessarily

26   controlling of the action before the court”; the district court simply “may find it is efficient for its

27   own docket and the fairest course for the parties to enter a stay of an action before it[.]” Id. In

28   doing so, courts weigh “the competing interests which will be affected by the granting or refusal

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 1   to grant a stay.” Id. (quoting CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)). These

 2   interests include: “[1] the possible damage which may result from the granting of a stay, [2] the

 3   hardship or inequity which a party may suffer in being required to go forward, and [3] the orderly

 4   course of justice measured in terms of the simplifying or complicating of issues, proof, and

 5   questions of law which could be expected to result from a stay.” Id. (the “CMAX factors”).

 6             Taking these factors in reverse order, each factor weighs in favor of staying this action

 7   pending resolution of the Ninth Circuit appeal in Martinez. First, there is no real question that

 8   the Ninth Circuit’s decision in Martinez will simplify the issues presented by Defendants’ motion

 9   to dismiss and anti-SLAPP motion to strike. The defendant in Martinez will likely present Article

10   III standing and First Amendment arguments to the Ninth Circuit that are similar to those raised

11   in Defendants’ motions. And if the Ninth Circuit concludes that the Martinez plaintiff lacks

12   standing and/or that ZoomInfo is entitled to full First Amendment protection, then that will tend

13   to dispose of this entire action. Where such dispositive issues are present in a related appeal,

14   “[t]his factor weighs heavily in favor of a stay.” Phan, 2020 WL 5576358, at *3 (“Even though

15   the case will not automatically be won or lost after the resolution of [the Ninth Circuit appeals at

16   issue], major issues in this case will be clarified by a ruling in even one of those cases.”); see also

17   Fuller v. Amerigas Propane, Inc., No. 09–2493 TEH, 2009 WL 2390358 at *2 (N.D. Cal. Aug. 3,

18   2009) (under this CMAX factor, “considerations of judicial economy are highly relevant”).

19             Second, “there will be a tremendous waste of resources, for both [Defendants] and the

20   Court, if this case continues into discovery, class certification, and motions practice while the

21   Ninth Circuit [is] considering potential dispositive issues in this case.” Phan, 2020 WL 5576358,

22   at *2. Where that is the case, as here, this factor also weighs in favor of a stay. Minor v. FedEx,

23   No. C 09-1375 TEH, 2009 WL 1955816, at *1 (N.D. Cal. Jul. 6, 2009) (“[W]hile going forward

24   does not impose inequity, it certainly appears to be a hardship to conduct pointless discovery that

25   may well be moot following a holding [by the appellate court in the appeal at issue].”).

26             Third, and conversely, Plaintiffs will not incur any cognizable prejudice or irreparable

27   harm as a result of the requested stay. Courts in this District have long explained that a “delay in

28   monetary recovery is an insufficient basis to deny a stay.” Zhang, 2022 WL 718486, at *7.

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 1   Further, given that “this action is at an early stage of litigation” and Plaintiffs have “not moved

 2   for a preliminary injunction,” “any prospective injunctive relief is unlikely to be addressed by this

 3   Court or a jury before the Ninth Circuit issues a decision.” See Gustavson v. Mars, Inc., No. 13-

 4   CV-04537-LHK, 2014 WL 6986421, at *3 (N.D. Cal. Dec. 10, 2014) (Koh, J.) (granting stay).

 5             Accordingly, the Court should stay this action pending resolution of the Martinez appeal

 6   to the Ninth Circuit. Indeed, multiple district courts, including Judge Beeler in this District, have

 7   entered analogous stays in other cases that present highly similar issues to this one. See Zhang,

 8   2022 WL 718486, at *7–8 (granting stay pending Ninth Circuit appeal of Article III standing and

 9   First Amendment issues); Sessa v. Ancestry.com Operations Inc., No. 2:20-cv-02292 (D. Nev.

10   Dec. 17, 2020) (same). While the Ninth Circuit appeals that those stays were predicated upon

11   have been voluntarily dismissed by the parties, the logic behind those stays continues to apply

12   with full force and effect here.

13             B.     Separately, Defendants are entitled to a mandatory stay of discovery pending
                      resolution of their motion to strike under California’s anti-SLAPP statute.
14

15             Independent of the Martinez appeal, Defendants move to stay discovery here pending

16   resolution of their anti-SLAPP motion to strike. California’s anti-SLAPP statute provides that:

17   “All discovery proceedings [] shall be stayed upon the filing of a[n] [anti-SLAPP] motion” and

18   “[t]he stay of discovery shall remain in effect until notice of entry of the order ruling on the [anti-

19   SLAPP] motion.” Cal. Civ. Proc. Code § 425.16(g). Defendants have concurrently filed their

20   anti-SLAPP motion. Thus, all discovery proceedings in this action are automatically stayed until

21   the Court rules on Defendants’ pending anti-SLAPP motion. See Maxwell v. Kaylor, No. 18-CV-

22   06121-NC, 2022 WL 1123199, at *2 (N.D. Cal. Mar. 16, 2022) (granting anti-SLAPP stay); see

23   also Yamasaki v. Zicam LLC, No. 21-CV-02596-HSG, 2021 WL 3675214, at *2 (N.D. Cal. Aug.

24   19, 2021) (district court has inherent authority to stay discovery pending motion to dismiss).

25   IV.       CONCLUSION
26             For the foregoing reasons, the Court should stay this action pending resolution of the

27   Ninth Circuit appeal in Martinez. In the alternative, the Court should stay discovery pending

28   resolution of Defendants’ anti-SLAPP motion to strike pursuant to the anti-SLAPP statute.

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 1   Dated: May 13, 2022                      KEKER, VAN NEST & PETERS LLP

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                                        By:   /s/ R. Adam Lauridsen
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                                              R. ADAM LAURIDSEN
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                                              Attorneys for Defendants
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                                              INSIDEVIEW TECHNOLOGIES, INC.
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